         Case 1:21-mj-00160-ZMF Document 1-1 Filed 01/25/21 Page 1 of 6




                                   STATEMENT OF FACTS

        On January 6, 20201, your affiant, Special Agent Darren Jefferies, was on duty and
performing my official duties as a Special Agent for the Federal Bureau of Investigation (FBI).
Specifically, I am assigned to the Counter-Intelligence Division, tasked with investigating criminal
activity in and around the Capitol grounds. As an FBI Special Agent, I am authorized by law or
by a Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of a violation of Federal criminal laws. The U.S. Capitol is secured 24 hours a day by
U.S. Capitol Police. Restrictions around the U.S. Capitol include permanent and temporary
security barriers and posts manned by U.S. Capitol Police. Only authorized people with
appropriate identification were allowed access inside the U.S. Capitol. On January 6, 2021, the
exterior plaza of the U.S. Capitol was also closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
         Case 1:21-mj-00160-ZMF Document 1-1 Filed 01/25/21 Page 2 of 6




        On January 10, 2021, the Metropolitan Police Department (MPD) received an anonymous
tip via their electronic tip form identifying two individuals, later identified as Defendant PERT
and Defendant WINN, from an MPD flyer containing photographs of unauthorized individuals
inside the U.S. Capitol on January 6, 2021. The tipster included the screen shot of the MPD flyer,
shown below, when submitting the tip to MPD:




      The anonymous tipster identified two of the individuals in the screen shot (above) as
Rachael PERT, and her boyfriend, Dana WINN. Specifically, the tipster identified PERT as the
women in the center of the photo with a flag draped over her shoulders, and WINN as the male

                                                2
         Case 1:21-mj-00160-ZMF Document 1-1 Filed 01/25/21 Page 3 of 6




pictured directly to the right of PERT wearing a hat, and holding a phone in his right hand and an
American flag in his left hand. The tipster stated that it knew PERT and WINN because the tipster
was a co-worker of PERT’s at a Circle K in Middleburg, Florida. The tipster further advised that
PERT was the assistant manager at Circle K and requested time off work to “go to this.”

        Your affiant reviewed photographic images located on the website www.gettyimages.com
that were taken during the events that occurred at the U.S. Capitol on January 6, 2021. These
images were compared to photographs of WINN and PERT obtained by your affiant from the
Florida Driver and Vehicle Information Database. Based on a visual comparison performed by
your affiant, the individual pictured in the above photograph who is wearing blue jeans, brown
boots, gloves, a green camouflage jacket, a bandanna or neck gaiter with an American flag pattern,
and what appears to be a red, white, and blue flag as a cape with the letters “UMP” is PERT, and
the individual holding the American flag and wearing a grey or black textured or fleece-type jacket,
bandanna or neck gaiter with an American flag pattern, and olive green hat that reads “TRUMP”
in white, all-caps lettering is WINN.

        Your affiant has also reviewed information obtained by FBI Intelligence analysts related
to the Facebook profiles with user (UID) 100001014187656, identified as “DANA WINN,” and
100000028239288, identified as “RACHAEL PERT.” The photos depicted on these Facebook
profiles depict the same persons shown in the license photos for PERT and WINN. Moreover,
the names associated with both Facebook accounts matches the true names for PERT and WINN.
Finally, both Facebook profiles indicate that the users are “in a relationship.”

        On January 11 and 16, 2021, your affiant reviewed information from the Facebook profile
with the user (UID) 100001014187656 (account associated with WINN). On January 5, 2021, this
Facebook profile publicly posted a live video purporting to document a road trip being undertaken
by WINN and PERT from the area of the intersection of Interstate 10 and Interstate 95 in
Jacksonville, Florida, with a destination of Washington, D.C. WINN appears to be taking the video
from inside of a vehicle that he is driving while filming the video. In the video, I observed that
WINN and PERT are in a large SUV-type vehicle with a white hood and tan interior. At various
points in the video, roadside scenery consistent with the area of the intersection of Interstates 10
and 95 in Jacksonville, Florida, can be seen, WINN’s face can be seen, and PERT’s face can be
seen. The transcript of the video is as follows:

               WINN:           Looks we’re live now
               How’s everybody doing, if anybody’s out there?
               Trying to get this thing to switch around

               [PERT: inaudible]

               WINN:          Hmm
               There we go
                              I couldn’t figure out how to switch the camera around
                              Anyhow
                              Just wanna tell my friends and family that we love y’all
                              We’re on our way to DC

                                                 3
         Case 1:21-mj-00160-ZMF Document 1-1 Filed 01/25/21 Page 4 of 6




                              Cause us as American patriots, we’re tired of all this shit
                              It’s time to make a stand
                              I never really knew how deep and corrupt all this crap was and
                              how far back it’s gone
                              But America needs to wake up
                              We’re on the verge of fucking losing it
                              We’re just about up on I-10, get to 95, 95 north to DC, so
                              We’ll be taking videos, we’ll try to do it live as much as we can
                              That all depends if Facebook lets us, kinda doubt it cause they’re
                              a bunch of bitches
                              But we’ll keep you all informed, we’ll record the President when
                              he’s talking
                              But other than that, we’re getting up on the Interstate, so I need
               To pay attention to what the hell I’m doing
                              But we’ll periodically step in and stop and say hey what’s up
                              Y’all have a good evening
                              Say hi Rachael

               PERT: Hi y’all [At this point, WINN aims the camera at PERT,
               who is visible in the passenger seat.]

               WINN:          Got her flags, come with her flagpole, that way I can hit antifa in
                              the head if need be, ha
                              But we’ll be safe
                              Y’all have a good evening, we’ll be back, we’ll talk to y’all later,
                              love ya, bye

        Screen shots, seen below, were captured from the above referenced Facebook accounts. As
seen below, WINN is wearing a ballcap-style hat that appears to be olive green in color. The front
part of the hat is solid with white, all-caps lettering, however, the lettering is mostly obscured
throughout the video by WINN’s sunglasses. The side of the hat features a monochrome pattern
and white grommets. The hat worn by WINN in the Facebook live video appears to be the same
hat worn by WINN inside of the U.S. Capitol on January 6, 2021.




                                                4
        Case 1:21-mj-00160-ZMF Document 1-1 Filed 01/25/21 Page 5 of 6




       On January 14, 2021, records checks from the Clay County, Florida Property Appraiser’s
Office website were performed. This search revealed that both PERT and WINN are residents of
Middleburg, Florida, as described by the anonymous tipster. This is consistent with their
Facebook profile locations, as listed above.

      On January 19, 2021, a search warrant was executed at the residences of both WINN and
PERT. During the execution of the warrant FBI agents seized:

           •   clothing items belonging to WINN and PERT that are similar in appearance to
               those seen in the MPD flyer photograph;
           •   a Red, White, and Blue “TRUMP 2020” flag that PERT identified as the flag she
               can be seen wearing in the MPD flyer photo;

                                              5
         Case 1:21-mj-00160-ZMF Document 1-1 Filed 01/25/21 Page 6 of 6




            •   a green backpack that PERT identified as the backpack WINN can be seen
                wearing in the MPD flyer photo;
            •   a flagpole with an upside down (distress) American flag attached;
            •   a second American flag that WINN and PERT acknowledged finding on the
                Capitol grounds during the Capitol riots’;
            •   one cellular telephone belonging to PERT, and;
            •   one cellular telephone belonging to WINN.

        Later that same day WINN and PERT agreed to provide voluntary statements to the FBI.
WINN and PERT both stated they traveled to Washington, D.C. in order to attend the rally and
support the President and their country. WINN and PERT both admitted to entering the Capitol
Building on January 6, 2021 and identified themselves in the photograph contained in the MPD
flyer pictured above. WINN additionally confirmed that the flagpole seized from his home is the
same flagpole that can be seen in the MPD flyer. WINN also directed FBI agents to various
clothing items inside the residence that he was pictured wearing inside the Capitol, to include his
pants and jacket. WINN and PERT stated that while present at the U.S. Capitol no one instructed
them that they could not enter the Capitol building.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
RACHAEL LYNN PERT and DANA JOE WINN violated 18 U.S.C. § 1752(a)(1), which makes
it a crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do so.

       Your affiant submits there is also probable cause to believe that RACHAEL LYNN PERT
and DANA JOE WINN violated 40 U.S.C. § 5104(e)(2)(G), which makes it a crime to willfully
and knowingly parade, demonstrate, or picket in any of the Capitol Buildings.




                                             _______________________________________
                                             SPECIAL AGENT DARREN JEFFERIES.
                                             FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 25th day of January 2021.

                                                                    2021.01.25
                                                                    21:17:10 -05'00'
                                             ___________________________________
                                             THE HONORABLE ZIA M. FARUQUI
                                             UNITED STATES MAGISTRATE JUDGE
                                                6
